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PEARSON, J.

                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION


HAROLD R. FEEZLE, et al., etc.,                        )
                                                       )       CASE NO. 4:23CV0242
                 Plaintiffs,                           )
                                                       )
        v.                                             )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
RAILWAY CO., et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

GRAYCE EISLEY, et al., etc.,                           )
                                                       )       CASE NO. 4:23CV0250
                 Plaintiffs,                           )
                                                       )
        v.                                             )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
RAILWAY COMPANY,                                       )
                                                       )
                 Defendant.                            )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

RAY E. HALL, et al., etc.,                             )
                                                       )       CASE NO. 4:23CV0257
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
RAILWAY CO., et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *
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ANDREW ERDOS, et al., etc.,                            )
                                                       )       CASE NO. 4:23CV0268
                 Plaintiffs,                           )
                                                       )
        v.                                             )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION., et al.,                                  )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

CHASE KINDER, et al., etc.,                            )
                                                       )       CASE NO. 4:23CV0292
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION, et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

AYSIA CANTERBURY, et al., etc.,                        )
                                                       )       CASE NO. 4:23CV0298
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION, et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *




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KRISTIN BATTAGLIA, et al., etc.,                       )
                                                       )       CASE NO. 4:23CV0303
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
RAILWAY COMPANY, et al.,                               )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

JESSICA DAVIS, et al., etc.,                           )
                                                       )       CASE NO. 4:23CV0308
                 Plaintiffs,                           )
                                                       )
        v.                                             )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
RAILWAY COMPANY, et al.,                               )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

TINA IBEL, et al., etc.,                               )
                                                       )       CASE NO. 4:23CV0315
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION, et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *




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KAYLA BAKER, et al., etc.,                             )
                                                       )       CASE NO. 4:23CV0324
                 Plaintiffs,                           )
                                                       )
        v.                                             )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION, et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

SCOTT SNYDER, et al.,etc.,                             )
                                                       )       CASE NO. 4:23CV0344
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
RAILWAY CO., et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

AMY DETTMER, et al., etc.,                             )
                                                       )       CASE NO. 4:23CV0345
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
RAILWAY CO., et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *




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WILLIAM LEE FISHER, et al., etc.,                      )
                                                       )       CASE NO. 4:23CV0350
                 Plaintiffs,                           )
                                                       )
        v.                                             )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION, et al.                                    )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

ROBERT ATKINSON, et al., etc.,                         )
                                                       )       CASE NO. 4:23CV0363
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION, et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

CHRISTINA BODNAR, et al.,                              )
                                                       )       CASE NO. 4:23CV0380
                 Plaintiffs,                           )
                                                       )
                 v.                                    )       JUDGE BENITA Y. PEARSON
                                                       )
NORFOLK SOUTHERN                                       )
CORPORATION, et al.,                                   )
                                                       )
                 Defendants.                           )       ORDER

*   *   *    *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *




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ROSEMARY MOZUCH, et al., etc.,                        )
                                                      )       CASE NO. 4:23CV0415
                Plaintiffs,                           )
                                                      )
                v.                                    )       JUDGE BENITA Y. PEARSON
                                                      )
NORFOLK SOUTHERN                                      )
CORPORATION, et al.,                                  )
                                                      )
                Defendants.                           )       ORDER

*   *   *   *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

BRENDA SMITH, et al., etc.,                           )
                                                      )       CASE NO. 4:23CV0429
                Plaintiffs,                           )
                                                      )
                v.                                    )       JUDGE BENITA Y. PEARSON
                                                      )
NORFOLK SOUTHERN                                      )
CORPORATION, et al.,                                  )
                                                      )
                Defendants.                           )       ORDER

*   *   *   *   *    *   *    *   *   *   *   *   *   *   *    *   *   *   *   *   *   *   *   *   *   *

JON LUKE AFFELTRANGER, et al., etc.,                  )
                                                      )       CASE NO. 4:23CV0440
                Plaintiffs,                           )
                                                      )
                v.                                    )       JUDGE BENITA Y. PEARSON
                                                      )
NORFOLK SOUTHERN                                      )
CORPORATION,                                          )
                                                      )
                Defendants.                           )       ORDER




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                                                 I.

       On or before March 15, 2023, counsel for Plaintiffs in the above-captioned cases shall file

in Case No. 4:23CV0242 (i.e. the first-filed case) a motion proposing a class counsel

organizational structure, including, if necessary, a competing structure(s). See Fed. R. Civ. P.

23(g). The motion shall include in a single document the views of all counsel for Plaintiffs in the

18 cases now pending on the docket of the undersigned. Attorneys Seth A. Katz and M.

Elizabeth Graham are responsible for coordinating the final version of the motion and Attorney

Jayne Conroy shall file the motion. The motion and any briefing regarding it shall not be filed in

any of the other pending cases.

                                                 II.

       On or before March 15, 2023, counsel for Plaintiffs in the above-captioned cases shall file

in Case No. 4:23CV0242 a Joint Status Report setting forth their views and the views of defense

counsel regarding (1) the potential consolidation of the 18 cases, pursuant to Fed. R. Civ. P.

42(a), (2) the filing of a Master Consolidated Amended Complaint in Case No. 4:23CV0242, and

(3) the timing of Defendants’ responsive filing. Attorneys Seth A. Katz and M. Elizabeth

Graham are responsible for coordinating the final version of the Joint Status Report and Attorney

Jayne Conroy shall file it. The Joint Status Report and any briefing regarding it shall not be filed

in any of the other pending cases.



       IT IS SO ORDERED.


   March 8, 2023                                /s/ Benita Y. Pearson
Date                                          Benita Y. Pearson
                                              United States District Judge



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